                       Case
B 1 (Official Form 1) (1/08)        09-02046         Doc 1-1 Filed 01/23/09 Entered 01/23/09 16:36:23                                                  Desc
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                                        United States Bankruptcy Court Petition Page 1 of 16
                                     Northern District of Illinois                                                                        Voluntary Petition

 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
 Hartmarx Corporation
 All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN               Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):                                                                 (if more than one, state all):
 XX-XXXXXXX
 Street Address of Debtor (No. and Street, City, and State):                                    Street Address of Joint Debtor (No. and Street, City, and State):
 101 North Wacker Drive
 Chicago, IL
                                                                      ZIP CODE 60606                                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:

 Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                    ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                          ZIP CODE
                      Type of Debtor                                      Nature of Business                               Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                      (Check one box.)                                                the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                                 Chapter 7               Chapter 15 Petition for
        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in               Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                          ✔      Chapter 11              Main Proceeding
  ✔     Corporation (includes LLC and LLP)                         Railroad                                             Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                          Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                             Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                              ✔ Other                                                                    Nature of Debts
                                                              ___________________________________                                        (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                     Debts are primarily consumer     ✔ Debts are primarily
                                                                                                                      debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization             § 101(8) as “incurred by an
                                                                      under Title 26 of the United States             individual primarily for a
                                                                      Code (the Internal Revenue Code).               personal, family, or house-
                                                                                                                      hold purpose.”
                                Filing Fee (Check one box.)                                                                      Chapter 11 Debtors
                                                                                                Check one box:
  ✔     Full Filing Fee attached.                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

        Filing Fee to be paid in installments (applicable to individuals only). Must attach     ✔     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court’s consideration certifying that the debtor is
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.           Check if:
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                insiders or affiliates) are less than $2,190,000.
        attach signed application for the court’s consideration. See Official Form 3B.          -----------------------------------
                                                                                                Check all applicable boxes:
                                                                                                    A plan is being filed with this petition.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
  ✔        Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
                                                                             ✔
 1-49          50-99          100-199         200-999        1,000-          5,001-         10,001-         25,001-           50,001-          Over
                                                             5,000           10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                                                                                                             ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
 Estimated Liabilities
                                                                                                             ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
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B 1 (Official Form 1) (1/08)                                                                                                                                             Page 2
 Voluntary Petition                                     Voluntary Petition Name         Page     2 of 16
                                                                                           of Debtor(s):
 (This page must be completed and filed in every case.)                             Hartmarx Corporation
                                  All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
                    Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                    Case Number:                                     Date Filed:
                   See Attached Annex A
 District:                                                                                     Relationship:                                    Judge:
                  Northern District of Illinois
                                        Exhibit A                                                                                Exhibit B
                                                                                                                 (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                            whose debts are primarily consumer debts.)
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                               have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                               12, or 13 of title 11, United States Code, and have explained the relief
                                                                                               available under each such chapter. I further certify that I have delivered to the
                                                                                               debtor the notice required by 11 U.S.C. § 342(b).

 ✔      Exhibit A is attached and made a part of this petition.                                X
                                                                                                   Signature of Attorney for Debtor(s)       (Date)

                                                                                   Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                  Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                  Information Regarding the Debtor - Venue
                                                                           (Check any applicable box.)
              ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                     preceding the date of this petition or for a longer part of such 180 days than in any other District.

                     There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                     has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                     this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                       (Check all applicable boxes.)

                       Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                               (Name of landlord that obtained judgment)



                                                                                               (Address of landlord)

                       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                       entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
                       filing of the petition.

                       Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                           ANNEX A – AFFILIATED DEBTORS

On the date hereof, the following affiliated entities, including the Debtor, filed petitions
for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
Northern District of Illinois:

1.      Hartmarx Corporation
2.      Anniston Sportswear Corporation
3.      Briar, Inc.
4.      Chicago Trouser Company, Ltd.
5.      C.M. Clothing, Inc.
6.      C.M. Outlet Corp.
7.      Consolidated Apparel Group, Inc.
8.      Country Miss. Inc.
9.      Country Suburbans, Inc.
10.     Direct Route Marketing Corporation
11.     E-Town Sportswear Corporation
12.     Fairwood-Wells, Inc.
13.     Gleneagles, Inc.
14.     Handmacher Fashions Factory Outlet, Inc.
15.     Handmacher-Vogel, Inc.
16.     Hart Services, Inc.
17.     Hart Schaffner & Marx
18.     Hartmarx International, Inc.
19.     Hickey-Freeman Co., Inc.
20.     Higgins, Frank & Hill, Inc.
21.     HMX Luxury, Inc.
22.     HMX Sportswear, Inc.
23.     Hoosier Factories, Incorporated
24.     HSM Real Estate LLC
25.     HSM University, Inc.
26.     Intercontinental Apparel, Inc.
27.     International Women’s Apparel, Inc.
28.     Jaymar-Ruby, Inc.
29.     JRSS, Inc.
30.     Kuppenheimer Men’s Clothiers Dadeville, Inc.
31.     Monarchy Group, Inc.
32.     National Clothing Company, Inc.
33.     NYC Sweaters, Inc.
34.     106 Real Estate Corp.
35.     Robert’s International Corporation
36.     Robert Surrey, Inc.
37.     Salhold, Inc.
38.     Seaford Clothing Co.
39.     Simply Blue Apparel, Inc.
40.     Society Brand, Ltd.
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41.     Sweater.com Apparel, Inc.
42.     Tag Licensing, Inc.
43.     Tailored Trend, Inc.
44.     Thorngate Uniforms, Inc.
45.     Thos. Heath Clothes, Inc.
46.     Trade Finance International Limited
47.     Universal Design Group, Ltd.
48.     M. Wile & Company, Inc.
49.     Winchester Clothing Company
50.     Yorke Shirt Corporation
51.     Zooey Apparel, Inc.
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B 1A (Official Form 1, Exhibit A) (9/97)
[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit “A” shall be completed and attached to the petition.]

                                    UNITED STATES BANKRUPTCY COURT
                                                        Northern District
                                                    __________   Districtofof
                                                                            Illinois
                                                                               __________

In re     Hartmarx Corporation                                        ,             )       Case No.
                                           Debtor                                   )
                                                                                    )
                                                                                    )       Chapter 11


                                            EXHIBIT “A” TO VOLUNTARY PETITION
      1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the
SEC file number is 1-8501                                .

        2. The following financial data is the latest available information and refers to the debtor’s condition on
August 31, 2008                 .

        a. Total assets*                                                                $     483,108,000.00
        b. Total debts (including debts listed in 2.c., below)*                         $     261,220,000.00

        c. Debt securities held by more than 500 holders:                                                Approximate
                                                                                                          number of
                                                                                                           holders:

        secured       ’       unsecured ’           subordinated ’        $
        secured       ’       unsecured ’           subordinated ’        $
        secured       ’       unsecured ’           subordinated ’        $
        secured       ’       unsecured ’           subordinated ’        $
        secured       ’       unsecured ’           subordinated ’        $

        d. Number of shares of preferred stock
        e. Number of shares common stock                                             39,088,849
          Comments, if any:
        * As reported on a consolidated basis for all Debtors pursuant to the Form 10-Q filed by Hartmarx
        Corporation on October 9, 2008.


        3. Brief description of debtor’s business:
        Hartmarx Corporation is a leading manufacturer and marketer of men's suits, sport coats, and casual pants,
        men's and women's sportswear including golfwear, shirts, ties, and women's apparel.


        4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or
more of the voting securities of debtor: **As reported pursuant to the Form DEF 14A filed February 27, 2008:
     Abdullah Taha Bakhsh; Dimensional Fund Advisors LP; State of Wisconsin Investment Board; The Northern
     Trust Company, Trustee of the Hartmarx Retirement Income Plan; Vanguard Fiduciary Trust Company,
     Trustee of Hartmarx Savings Investment and Stock Ownership Plan

          Reset                                                                             Save As...                   Print
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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

                                                                    )        Case No. ________
In re:                                                              )        (Jointly Administered)
                                                                    )        Chapter 11
HARTMARX CORPORATION,                                               )
  et al.,                                                           )        Hon. _________
                                                                    )
                                   Debtors.1                        )        Hearing Date: ________
                                                                    )        Hearing Time: _________.

                               CONSOLIDATED LIST OF CREDITORS HOLDING
                                    30 LARGEST UNSECURED CLAIMS

           Set forth below is a list of the creditors holding the 30 largest unsecured claims against the
  above-captioned debtors (the "Debtors") as of approximately January 16, 2009. This list has been
  prepared on a consolidated basis, based upon the books and records of the Debtors that have
  commenced chapter 11 cases in this Court. The Debtors believe that this list is representative of the
  30 largest creditors in each of the affiliated cases. The information presented in the list below shall
  not constitute an admission by, nor is it binding on, the Debtors.2


  1
         The Debtors consist of: Hartmarx Corporation (FEIN: XX-XXXXXXX); Anniston Sportswear Corporation (FEIN: 63-
         0255951); Briar, Inc. (FEIN: XX-XXXXXXX); Chicago Trouser Company, Ltd. (FEIN: XX-XXXXXXX); C.M. Clothing, Inc.
         (FEIN: XX-XXXXXXX); C.M. Outlet Corp. (FEIN: XX-XXXXXXX); Consolidated Apparel Group, Inc. (FEIN: XX-XXXXXXX);
         Country Miss, Inc. (FEIN: XX-XXXXXXX); Country Suburbans, Inc. (FEIN: XX-XXXXXXX); Direct Route Marketing
         Corporation (FEIN: XX-XXXXXXX); E-Town Sportswear Corporation (FEIN: XX-XXXXXXX); Fairwood-Wells, Inc. (FEIN:
         XX-XXXXXXX); Gleneagles, Inc. (FEIN: XX-XXXXXXX); Handmacher Fashions Factory Outlet, Inc. (FEIN: XX-XXXXXXX);
         Handmacher-Vogel, Inc. (FEIN: XX-XXXXXXX); Hart Services, Inc. (FEIN: XX-XXXXXXX); Hart Schaffner & Marx (FEIN:
         XX-XXXXXXX); Hartmarx International, Inc. (FEIN: XX-XXXXXXX); Hickey-Freeman Co., Inc. (FEIN: XX-XXXXXXX); Higgins,
         Frank & Hill, Inc. (FEIN: XX-XXXXXXX); HMX Luxury, Inc. (FEIN: XX-XXXXXXX); HMX Sportswear, Inc. (FEIN: 13-
         2882518); Hoosier Factories, Incorporated (FEIN: XX-XXXXXXX); HSM Real Estate LLC (FEIN: XX-XXXXXXX); HSM
         University, Inc. (FEIN: XX-XXXXXXX); Intercontinental Apparel, Inc. (FEIN: XX-XXXXXXX); International Women’s
         Apparel, Inc. (FEIN: XX-XXXXXXX); Jaymar-Ruby, Inc. (FEIN: XX-XXXXXXX); JRSS, Inc. (FEIN: XX-XXXXXXX);
         Kuppenheimer Men’s Clothiers Dadeville, Inc. (FEIN: XX-XXXXXXX); Monarchy Group, Inc. (FEIN: XX-XXXXXXX);
         National Clothing Company, Inc. (FEIN: XX-XXXXXXX); NYC Sweaters, Inc. (FEIN: XX-XXXXXXX); 106 Real Estate Corp.
         (FEIN: XX-XXXXXXX); Robert’s International Corporation (FEIN: XX-XXXXXXX); Robert Surrey, Inc. (FEIN: XX-XXXXXXX);
         Salhold, Inc. (FEIN: XX-XXXXXXX); Seaford Clothing Co. (FEIN: XX-XXXXXXX); Simply Blue Apparel, Inc. (FEIN: 20-
         3583172); Society Brand, Ltd. (FEIN: XX-XXXXXXX); Sweater.com Apparel, Inc. (FEIN: XX-XXXXXXX); Tag Licensing, Inc.
         (FEIN: XX-XXXXXXX); Tailored Trend, Inc. (FEIN: XX-XXXXXXX); Thorngate Uniforms, Inc. (FEIN: XX-XXXXXXX); Thos.
         Heath Clothes, Inc. (FEIN: XX-XXXXXXX); Trade Finance International Limited (FEIN: XX-XXXXXXX); Universal Design
         Group, Ltd. (FEIN: XX-XXXXXXX); M. Wile & Company, Inc. (FEIN: XX-XXXXXXX); Winchester Clothing Company (FEIN:
         XX-XXXXXXX); Yorke Shirt Corporation (FEIN: XX-XXXXXXX); and Zooey Apparel, Inc. (FEIN: XX-XXXXXXX).
  2
         The Debtors will file the schedules of assets and liabilities (the “Schedules”) in accordance with 11 U.S.C. § 521 and Fed.
         R. Bankr. P. 1007. The information contained in the Schedules may differ from that set forth below. Furthermore, the
         Debtors have not yet identified which of their largest unsecured claims, if any, are contingent, unliquidated, disputed
         and/or subject to setoff. The Debtors reserve the right to identify any of their claims listed in the Schedules as contingent,
         unliquidated, disputed and/or subject to setoff as appropriate. Inclusion of a claim on this consolidated list is not an
         admission that the amounts are or are not contingent, unliquidated, disputed and/or subject to setoff nor an admission that
         the amounts listed are owed by more than one of the Debtors.
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                  The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11
         case. The list does not include (1) persons who come within the definition of "insider" set forth in 11
         U.S.C. § 101, or (2) secured creditors unless the value of the collateral is such that the unsecured
         deficiency places the creditor among the holders of the 30 largest unsecured claims.


            (1)                                (2)                              (3)          (4)             (5)
  NAME OF CREDITOR AND            NAME, TELEPHONE NUMBER AND           NATURE OF CLAIM        C    AMOUNT OF CLAIM
    COMPLETE MAILING               COMPLETE MAILING ADDRESS                (trade debt,       U     (if secured also state
ADDRESS INCLUDING ZIP CODE           INCLUDING ZIP CODE, OF                 bank loan,        D            value of
                                        EMPLOYEE, AGENT,                   government         S            security)
                                    DEPARTMENT OF CREDITOR                contract, etc.)
                                      FAMILIAR WITH CLAIM
Wooyang Co.                                                           TRADE DEBT                   $2,786,558.40
75 Maiden Lane
New York, NY 10038
Pacific Garment                   213-622-9500                        TRADE DEBT                   $1,207,127.75
719 S. Los Angeles St. #708
Los Angeles, CA 90014
SAP America, Inc.                                                     TRADE DEBT                   $1,038,529.18
PO Box 7780-824024
Philadelphia, PA 19182
Rolex Garments Factory                                                TRADE DEBT/                  $1,011,027.00
Off Al Wahda Street Industrial                                        LETTERS OF
Area No 4                                                             CREDIT
Sharjah, United Arab Emirates
4813
HMS International                                                     TRADE DEBT                   $869,560.98
GMAC Commercial
PO Box 403058
Atlanta, GA 30384
Gokaldas                          212-730-3950                        TRADE DEBT                   $821,069.07
125 Roopena Agrahara
Madiwala
Bangalor India 123457
Warren Corp.                      212-201-0249                        TRADE DEBT                   $771,827.73
Intesa Sanpaolo SPA
PO Box 9098
New York, NY 1025
Shina EMS Corp.                   Mr. Dong Won Bang                   TRADE DEBT                   $624,453.00
12F, Hae Kwang Bldg., 158-13      c/o Shina EMS Corp.
Samsung Dong                      12F, Hae Kwang Bldg., 158-13
Kangnam-Gu, Seoul 135-880         Samsung Dong
KOREA                             Kangnam-Gu, Seoul 135-880
Attn: Dong Won Bang,              KOREA
President
Marsh                             312-627-6000                        TRADE DEBT                   $610,934.00
96772 Collection Center Drive
Chicago, IL 60693
US Customs                                                            CUSTOMS                      $518,730.00
                                                                      DUTIES
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            (1)                            (2)                      (3)         (4)             (5)
  NAME OF CREDITOR AND        NAME, TELEPHONE NUMBER AND   NATURE OF CLAIM       C    AMOUNT OF CLAIM
    COMPLETE MAILING           COMPLETE MAILING ADDRESS        (trade debt,      U     (if secured also state
ADDRESS INCLUDING ZIP CODE       INCLUDING ZIP CODE, OF         bank loan,       D            value of
                                    EMPLOYEE, AGENT,           government        S            security)
                                DEPARTMENT OF CREDITOR        contract, etc.)
                                  FAMILIAR WITH CLAIM
Trans International                                        TRADE DEBT                 $492,378.36
75 Maiden Lane
New York, NY 10038
Expediators International                                  TRADE DEBT                 $457,908.25
PO Box 66448
Chicago, IL 60666
PWC                           312-298-2118                 PROFESSIONAL               $402,267.00
PO Box 75647                                               FEES
Chicago, IL 60675
Hibernian                                                  TRADE DEBT                 $356,021.00
One North LaSalle St
Suite 2151
Chicago, IL 60602
Agency.Com                    212-358-2600                 TRADE DEBT                 $361,673.00
488 Madison Ave 4th Floor
New York, NY 10022
Teklink International Inc.                                 TRADE DEBT                 $345,809.99
823 Fieldcrest Drive
Naperville, IL 60540
Lee Fu Garment Factory LTD                                 TRADE DEBT                 $343,444.80
Av De Ven De Morais Nam
Fong Ind. Centre Bloco 2
Andar G-H
Macau
Amalgamated Cotton Garment                                 EMPLOYEE                   $341,736.99
& Allied Industrial Fund                                   BENEFITS
New York, NY 10116
Alltex EPZ Limited                                         TRADE DEBT/                $327,869.00
PO Box 3050                                                LETTERS OF
Athiriver EPZ                                              CREDIT
Nairobi, Kenya
Perry Ellis International                                  ROYALTIES                  $312,500.00
Attn: Nicole Dalvano
Miami, FL 33172
Eighteen International Ltd.   212-586-3863                 TRADE DEBT                 $307,096.06
104 West 40th Street
New York, NY 10018
Nicklaus Marketing, Inc.      561-626-3900                 ROYALTIES                  $300,000.00
PO Box 024876
Miami, FL 33102
Textile Import LLC            336-638-6926                 TRADE DEBT                 $298,147.67
1410 Broadway 22nd Floor
Attn David Tell
New York, NY 10018
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            (1)                             (2)                      (3)         (4)             (5)
  NAME OF CREDITOR AND         NAME, TELEPHONE NUMBER AND   NATURE OF CLAIM       C    AMOUNT OF CLAIM
    COMPLETE MAILING            COMPLETE MAILING ADDRESS        (trade debt,      U     (if secured also state
ADDRESS INCLUDING ZIP CODE        INCLUDING ZIP CODE, OF         bank loan,       D            value of
                                     EMPLOYEE, AGENT,           government        S            security)
                                 DEPARTMENT OF CREDITOR        contract, etc.)
                                   FAMILIAR WITH CLAIM
Hong Kong Knitters             852-2726-6333                TRADE DEBT                 $283,322.10
10/F 22 Tai Yau Street
Sanpokong, Kowloon , Hong
Kong
Preferred Care                 585-325-3113                 EMPLOYEE                   $277,596.85
PO Box 1306                                                 BENEFITS
Buffalo, NY 14240
SBIS Inc. d/b/a Sun Bay Intl   310-765-4151                 TRADE DEBT                 $241,227.87
17902 Star of India Lane
Carson, CA 90746
Knowledge Support Systems,                                  TRADE DEBT                 $228,976.00
Inc.
570 E. Northwest HWY
Des Plaines, IL 60016
Prominent USA, Inc.                                         TRADE DEBT                 $224,211.00
The CIT Group/Commercial
Service
Charlotte, NC 28201
Industrias Cavalier                                         TRADE DEBT                 $222,827.19
75 Maiden Lane
Prativero Trivero, NY 10038
Vitale Barberis Canonico SPA   203-762-2738                 TRADE DEBT                 $216,691.20
Via Diagonale 296
VC 13832
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   DECLARATION REGARDING THE CONSOLIDATED LIST OF CREDITORS HOLDING
       THE THIRTY LARGEST UNSECURED CLAIMS AGAINST THE DEBTORS

           I, Glenn R. Morgan, Chief Financial Officer of Hartmarx Corporation, the debtor in this case,
  declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
  best of my knowledge, information and belief.

  Date:    January 23, 2009
           Chicago, Illinois

                                                By:       /s/ Glenn R. Morgan
                                                          Glenn R. Morgan
                                                          Chief Financial Officer of
                                                          Hartmarx Corporation
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                         CERTIFICATE AS TO RESOLUTIONS
                       ADOPTED BY THE BOARD OF DIRECTORS
                           OF HARTMARX CORPORATION

                                         January 23, 2009

               The undersigned, Taras R. Proczko, being the duly appointed Secretary of
Hartmarx Corporation, a Delaware c   orporation(the“ Company”   ), does hereby certify that the
followi ngr esol
               ut i
                  on swe  redulya dop tedbyt  h
                                              eBoa  rdofDi  r
                                                            ect or soft heCompa   ny( th e“ Board”
                                                                                                 )
at a special meeting of the Board held on January 23, 2009 and that such resolutions have not
been amended or rescinded and are now in full force and effect:


                RESOLVED, that in the judgment of the Board it is desirable and in the best
interests of the Company, its creditors, its stockholders and other interested parties that a petition
be filed by the Company in the United States Bankruptcy Court for the Northern District of
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                      on( the“ Bankruptcy Court”    )seeki ngre l
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                        edSt  atesCode(    the“ Bankruptcy Code”  ),inwhi  c hthea  uthorityt o
operate as a debtor-in-possession will be sought, and the filing of such petition is authorized
hereby;


              FURTHER RESOLVED, that each of Homi B. Patel, Glenn R. Morgan, Taras R.
Proczko and James T. Conners be appointed by the Board as an authorized signatory (each, an
“Authorized Signatory”) in connection with the chapter 11 case authorized herein;


               FURTHER RESOLVED, that each Authorized Signatory and each officer of the
Company, together with any other person or persons hereafter designated by the Board, or any
one of such persons (each, an “ Authorized Officer”and collectively, the “  Authorized Officers”
                                                                                               )
be, and each of them, with full authority to act without the others, hereby is, authorized,
empowered and directed, on behalf of the Company, to execute and verify a petition in the name
of the Company under chapter 11 of the Bankruptcy Code and to cause the same to be filed in
the Bankruptcy Court in such form and at such time as the Authorized Officer executing said
petition on behalf of the Company shall determine;


                FURTHER RESOLVED, that the Authorized Officers be, and each of them, with
full authority to act without the others, hereby is, authorized, directed and empowered, on behalf
of and in the name of the Company, to execute and/or file, or cause to be executed and/or filed
(or to direct others to do so on their behalf as provided herein) all necessary documents including,
but not limited to, all petitions, affidavits, schedules, motions, lists, applications, pleadings and
other papers, and in that connection to employ and retain all assistance by legal counsel,
accountants or other professionals and to take any and all other action, that they or any of them
deem necessary, appropriate or advisable in connection with the chapter 11 case, including any
and all action necessary, appropriate or advisable in connection with obtaining debtor-in-
possession financing;
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              FURTHER RESOLVED, that the Company be, and it hereby is, authorized to
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                                                         he“ Ratification Agreement”   ),a mon  g
the Company and Coppley Apparel Group Limited, as borrowers, the subsidiaries of the
Company identified therein, as guarantors, the lenders from time to time a party thereto, and
Wachovia Capital Finance Corporation (Central), in its capacity as agent, in substantially the
form heretofore presented or described to the Board (with such final terms and provisions as the
Authorized Officer executing the Ratification Agreement may approve) to borrow funds in an
amount not to exceed $160 million, on such terms as may be approved by any one or more of the
Authorized Officers as reasonably necessary for the continuing conduct of the affairs of the
Company and affirm or grant security interests in and liens upon all or substantially all of the
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                sa sma  yb ede eme dn e cessaryby any one or more of the Authorized Officers in
connection with such borrowings;


                FURTHER RESOLVED, that the Authorized Officers be, and each of them, with
full authority to act without the others, hereby is, authorized and empowered, in the name and on
behalf of the Company, to negotiate, execute, deliver, and perform, as debtor and debtor-in-
possession, any documents, agreements, guaranties, instruments, financing statements,
undertakings and certificates necessary or appropriate to facilitate the transactions contemplated
by the foregoing resolution including, but not limited to, any credit agreement, pledge agreement,
security agreement, promissory note, letter of credit application, mortgage, or other security
instrument, containing such provisions, terms, conditions, covenants, warranties, and
representations as may be deemed necessary or appropriate or other document evidencing the
obligations of the Company under the debtor-in-possession financing, and any modifications or
supplements thereto, all such materials to be in the form approved by such Authorized Officers,
the execution and delivery thereof to be conclusive evidence of such approval;


                FURTHER RESOLVED that the Authorized Officers be, and each of them, with
full authority to act without the others, hereby is, authorized and empowered, in the name and on
behalf of the Company, to amend, supplement or otherwise modify from time to time the terms
of any documents, certificates, instruments, agreements or other writings referred to in the
foregoing resolutions;


                FURTHER RESOLVED, that the law firm of Skadden, Arps, Slate, Meagher &
Flom LLP, 333 West Wacker Drive, Chicago, Illinois 60606-1285, and its affiliated law practice
entities be, and hereby are, employed under a general retainer as attorneys for the Company in
the chapter 11 case;


                FURTHER RESOLVED, that the firm of FTI Consulting, Inc. be, and hereby is,
employed as a restructuring advisor for the Company in connection with the chapter 11 case and
any other related matters in connection therewith on such terms as any Authorized Officer shall
approve;




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               FURTHER RESOLVED, that the firm of Moelis & Company LLC be, and hereby
is, employed as a restructuring advisor for the Company in connection with the chapter 11 case
and any other related matters in connection therewith on such terms as any Authorized Officer
shall approve;


                FURTHER RESOLVED, that the Authorized Officers be, and each of them, with
full authority to act without the others, hereby is, authorized and empowered, in the name and on
behalf of the Company, to retain such other professionals on such terms as they deem necessary,
appropriate or advisable during the course of the chapter 11 case;


                FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by
any Authorized Officer to seek relief on behalf of the Company under chapter 11 of the
Bankruptcy Code, or in connection with the chapter 11 case, or any matter related thereto,
including in connection with the debtor-in-possession financing, be, and they hereby are, adopted,
ratified, confirmed and approved in all respects as the acts and deeds of the Company;


                FURTHER RESOLVED, that the Authorized Officers be, and each of them, with
full authority to act without the others, hereby is, authorized and directed, in the name and on
behalf of the Company, to take or cause to be taken any and all such further action and to execute
and deliver or cause to be executed or delivered all such further shareholder or member consents
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appropriate or advisable to effectuate the seeking of relief under chapter 11 of title 11 of the
Bankruptcy Code with respect to each such subsidiary;


               FURTHER RESOLVED, that any person dealing with any Authorized Officer in
connection with any of the foregoing matters shall be conclusively entitled to rely upon the
authority of such Authorized Officer and by his or her execution of any instrument, certificate,
notice or document, the same shall be a valid and binding obligation of the Company enforceable
in accordance with its terms;


               FURTHER RESOLVED, that the Authorized Officers be, and each of them
hereby is, authorized and directed, for and on behalf of the Company, to pay all necessary and
reasonable fees and expenses incurred in connection with the transactions contemplated by these
resolutions;


                 FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, the Authorized Officers be, and each of them, with full
authority to act without the others, hereby is, authorized and directed to take or cause to be taken
all such further actions, to execute and deliver or cause to be executed and delivered all such
further certificates, agreements, instruments and documents in the name and on behalf of the
Company and to incur all such fees and expenses as in their judgment shall be necessary,



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appropriate or advisable in order to carry out fully the intent and purposes of the foregoing
resolutions and each of them; and


                FURTHER RESOLVED, that any actions taken by such Authorized Officers
prior to the date set forth below with respect to the matters contemplated by the foregoing
resolutions are hereby ratified, confirmed and approved in all respects.

                                              *****




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